IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
AT GREENEVILLE

MARK SALYER,
Petitioner,

Crim. No. 2:11-cr-OO4
Civil No. 2:13-cv-113

UNITED STATES OF AMERICA,
Respondent.

Judge Greer

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EXHIBIT 1
ANSWER TO THE GOVERNMENT'S RESPONSE

 

COMES NOW, Mark Salyer, Petitioner, pro §§, and respectfully
files the attached Exhihit 1 of the Answer to the Government's
Response, previously submitted in the above styled Section 2255
action. In so doing, the Petitioner notes the following for the

record:

1` Mr. Salyer has a motion currently pending in the above
styled action(s) to vacate or correct his sentence pursuant to

28 U.S.C. § 2255.

2. On September 16, 2013, the Government filed a Response

in Opposition to the 2255 Motion (Crim. Doc. 67.)

3. Pursuant to an Order of this Honorable Court, the
Petitioner submitted an Answer to the Government's Response on

November 15, 2013. ("Answer")

4. In so doing, the Petitioner made reference to notations
written by defense counsel in the margins of the Pre-Sentence

Investigation report (PSI). (See, Answer at 3.)

5. Pursuant to Bureau of Prison policy, however, the
Petitioner is not allowed to possess any copy of his PSI. Upon
his receipt of the document in question, it was forwarded to his
Case Manager by the institution's mailroom and placed in his inmate
file. Pursuant to policy, therefore, he was required to provide
the instant pleading to his Case Manager who, in turn, attached

the document referred to in his Answer as Exhibit 1.

The Petitioner regrets any inconvenience this may have caused

this Honorable Court or the Respondent.

Respect lly u tted,

Dated: // 'L?O /Z/O/B

 

 

Mark SalerC pfo §§
43560-074 FCI

P.O. Box 350
Beaver, WV 25813

EXHIBIT

Excerpts of Presentence Investigation Report
with annotations in margin by attorney Dan Smith

 

 

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Office of the Clerk

United States District Court
220 W. Depot Street

Suite 200

Greeneville, TN 37743

November 25, 2013

Re: Mark Salyer v. United States, 2:13-cv-113 (2:11-cr-04)

Dear Sir/Madam:
Please find the following documents enclosed:

One (1) original: Exibit - Answer to the Government's Response

One (1) extra copy of the first page of same

With regards to these documents, the following is being
requested of your office:

1. Please file this document with the Court on the above
styled action.

2. Please stamp the extra first page "filed" and return
it to the undersigned in the self-addressed, stamped envelope
that has been provided for your convenience.

Thank you for your attention to this request; your assistance
is greatly appreciated.

Respec ull

 

Mark Salyer, 4§560-074
FCI, P.O. BOX 350
BEaver, WV 25813

